                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

JOHN EDWARDS,                               )
                                            )
                       Plaintiff,           )
                                            )
vs.                                         )      Case No. 08-0152-CV-W-GAF
                                            )
ER SOLUTIONS, INC.,                         )
                                            )
                       Defendant.           )

                                    ORDER OF DISMISSAL

       Now before the Court is the parties’ Stipulation of Dismissal With Prejudice.

Accordingly, it is

       ORDERED that the above referenced case is dismissed with prejudice. Each party is to

bear its own costs and fees.

                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: August 7, 2008




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